              Case 1:19-cr-00374 Document 57 Filed 06/01/20 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )
                                    )
AHMAD “ANDY” KHAWAJA,               )                   CRIMINAL NO. 1:19-cr-00374 (RDM)
GEORGE NADER,                       )
ROY BOULOS,                         )
RUDY DEKERMENJIAN,                  )
MOHAMMAD “MOE” DIAB,                )
RANI EL-SAADI,                      )
STEVAN HILL, and                    )
THAYNE WHIPPLE,                     )
                                    )
            Defendants.             )
____________________________________)

                                    JOINT STATUS REPORT

         The United States of America and defendants Nader, Boulos, Dekermenjian, Diab, El-

Saadi, Hill, and Whipple, through their counsel, respectfully submit this joint status report. 1 In

support of this joint status report, the above-listed parties state as follows:

         1.      On November 7, 2019, a fifty-three count indictment was returned, charging the

defendants with conspiracy to commit offenses against the United States, making conduit

contributions, making excessive contributions, causing the submission of false statements, causing

the submission of false records, and obstruction of justice. The indictment stems from a multi-year

investigation by the Federal Bureau of Investigation into a scheme to make conduit and excessive

contributions to various political committees during and after the 2016 election. After the

indictment was returned, it was sealed, and warrants were issued for the arrest of all defendants.

         2.      On December 3, 2019, defendant Boulos surrendered to authorities in the District




1
    Defendant Khawaja remains a fugitive from justice.
              Case 1:19-cr-00374 Document 57 Filed 06/01/20 Page 2 of 5



of Nevada, and defendants Dekermenjian, Diab, El-Saadi, Hill, and Whipple surrendered to

authorities in the Central District of California. Each defendant was released with an order to

appear in the District of Columbia.

        3.      On December 13, 2019, defendant George Nader appeared before Magistrate Judge

Robin M. Meriweather and before this Court. Defendant Nader was arraigned on the indictment

and waived his right to appear at status hearings scheduled for December 19, 2019, and March 10,

2020. Defendant Nader agreed further to the tolling of time from December 13, 2019, to March

10, 2020, pursuant to the 18 U.S.C. § 3161(h)(7). The Court ordered that such time be excluded in

the interest of justice.

        4.      On December 18, 2019, defendants Boulos, Dekermenjian, Diab, El-Saadi, Hill,

and Whipple appeared before Magistrate Judge Meriweather. Each defendant was arraigned and

was placed on a personal recognizance bond.

        5.      On December 19, 2019, defendants Boulos, Dekermenjian, Diab, El-Saadi, Hill,

and Whipple appeared before this Court. A status conference was scheduled for March 10, 2020.

All defendants agreed to toll time from December 19, 2019, to March 10, 2020, pursuant to 18

U.S.C. § 3161(h)(7), and the Court ordered such time excluded in the interest of justice. This Court

also waived the requirement that each defendant appear at the hearing on March 10, 2020. Finally,

the court set a deadline of February 14, 2020, for the submission of a joint status report, to be filed

if the parties jointly sought a continuance of the hearing on March 10, 2020.

        6.      On or about December 19, 2019, the government provided the defendants with

initial discovery. That discovery consisted of a thumb drive containing more than 200,000 pages

of records, and six audio disks.


                                                  2
             Case 1:19-cr-00374 Document 57 Filed 06/01/20 Page 3 of 5



       7.      On December 20, 2019, the government filed an unopposed motion for a protective

order governing discovery. The Court granted that motion and issued a protective order.

       8.      On or about January 16, 2020, the government provided the defendants with

additional discovery, consisting of a spreadsheet detailing data related to more than 20,000 text

messages, and several additional FBI reports. Additionally, the government provided several of

the defendants with their own tax information.

       9.      On February 11, 2020, the government filed a joint status report and motion to

continue the status hearing scheduled for March 10, 2020. The government, and each defendant,

jointly requested that the hearing be continued for a period of approximately sixty days, and further

requested that the time from March 10, 2020, to the date of the next hearing be excluded from

computations under the Speedy Trial Act.

       10.     On February 24, 2020, and because of conflicts with the proposed hearing date, the

government filed a supplemental joint status report. In this supplemental report, the parties

requested that the hearing scheduled for March 10, 2020, be rescheduled for June 17, 2020.

       11.     On March 2, 2020, the Court continued the status hearing from March 10, 2020, to

June 17, 2020. Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161 et. seq., the Court excluded

time from the entry of its order until June 17, 2020. The Court further granted the defendants’

requests not to attend the June 17 hearing, provided that counsel for each defendant not attending

submit a written waiver, signed by his or her respective client, representing that the defendant

understands his right to be present at each stage of the proceeding, has conferred with counsel

regarding that right, and knowingly and voluntarily waives that right. Finally, the Court ordered

that the parties submit another joint status report on or before June 3, 2020, notifying the Court


                                                 3
              Case 1:19-cr-00374 Document 57 Filed 06/01/20 Page 4 of 5



whether an additional continuance would be necessary.

       12.     The government has spoken with counsel for defendants Nader, Boulos,

Dekermenjian, Diab, El-Saadi, Hill, and Whipple. Defendants Nader, Boulos, Dekermenjian,

Diab, El-Saadi, Whipple, and the government jointly request that the hearing be continued from

June 17, 2020, for a period of approximately 60 days, for review of discovery and further

negotiation with the government. The government and these defendants further request that the

time from June 17, 2020, to the date of the next status hearing be excluded pursuant to 18 U.S.C.

§ 3161(h)(7)(A). Given the volume of discovery and the complexity of the case, the government

and these defendants submit that the ends of justice served by excluding time outweigh the best

interest of the public and the defendants in a speedy trial. Counsel for these defendants have

conferred with their clients regarding this request for a continuance, and regarding the defendants’

rights under the Speedy Trial Act. Each of these defendants consents to the exclusion of time under

the Speedy Trial Act.

       13.     Defendant Hill does not agree to a further continuance of this matter and seeks a

trial date. The government has notified all defendants that it will oppose a request for a severance

in this matter. See, e.g., United States v. Speight, 941 F. Supp. 2d 115, 119 (D.D.C. 2013) (denying

request for severance in a conspiracy case when one defendant was ready for trial when co-

defendants were not, and excluding time pursuant to the Speedy Trial Act over that defendant’s

objection).




                                                 4
Case 1:19-cr-00374 Document 57 Filed 06/01/20 Page 5 of 5



                         Respectfully submitted,

                         COREY R. AMUNDSON
                         Chief, Public Integrity Section
                         Criminal Division
                         U.S. Department of Justice

                   By:   /s/ Michael J. Romano
                         Michael J. Romano
                         James C. Mann
                         Trial Attorneys
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                         U.S. Department of Justice




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